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                            UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION

UNITED STATES OF AMERICA,                         ) CASE NO. 4:04 CR 245-47
                                                  )
       Plaintiff,                                 )
                                                  )
vs.                                               ) Judge Peter C. Economus
                                                  )
LARRY MAYFIELD,                                   )
                                                  )
       Defendant.                                 ) ORDER



       On November 16, 2005, the Court sentenced the Defendant to 5 months imprisonment,

followed by 3 years supervised release, for conspiracy to possess with intent to distribute heroin, a

Class C felony. His supervised release commenced on April 4, 2006.

       On or about April 3, 2008, the Defendant’s probation officer submitted to the Court a Violation

Report alleging two violations of the terms of the Defendant’s supervised release:

               1). On January 2, 2008, the offender’s supervised release was revoked
               following a violation hearing. He was ordered to serve three months
               custody in the Bureau of Prisons. Upon his release, supervised release
               was to continue with the offender spending six months in a Community
               Confinement Center (CCC). The offender was released from FCI-
               Morgantown April 1, 2008, and was to report to the CCC (CCA) that
               date. This officer communicated same to the offender’s case manager at
               FCI-Morgantown prior to the offender’s release who advised he and the
               offender were well aware of the offender’s report date to the CCC. The
               case manager indicated the offender was not happy about having to go
               to the CCC.

               2). The offender was released as scheduled from the Bureau of Prisons;
               however, he has failed to report to the CCC as ordered. As of this
               writing, it is almost a full 24 hours since the offender arrived back in
               Youngstown. His bus arrived in Youngstown at 3:40 PM April 1, 2008.
               The offender has failed to contact this officer or report to the CCC. He
               is therefore whereabouts unknown.

        On April 4, 2008, the Court referred the matter to United States Magistrate Judge George J.
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Limbert to conduct the appropriate proceedings, except for sentencing, and issue Report and

Recommendation stating the Magistrate Judge’s findings. In the Report and Recommendation the

Magistrate Judge recommended that the Court find the Defendant in violation of the terms of his

supervised release. Neither party objected to the Report and Recommendation in the ten days after

it was issued. The Magistrate Judge’s Report and Recommendation is hereby ADOPTED.

          The parties shall appear before the Court on July 11, 2008 at 1:30 p.m. for sentencing in this

matter.

          IT IS SO ORDERED.
                                                /s/ Peter C. Economus – June 30, 2008
                                                PETER C. ECONOMUS
                                                UNITED STATES DISTRICT JUDGE




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